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Mail Code: RI 1-530-01-19
3400 Pawtucket Avenue
Riverside, RI 02915-5298
Fax: 404-532-3742
BALCPayoffs@bankofamerica.com

September 18, 2020
Leasing customer
ART VAN FURNITURE, INC.

RE: Customer No. 3169100        Schedule No(s). 3                                          see detail attached

Dear Leasing customer

Banc of America Leasing & Capital, LLC("BAL") will allow the partial early termination of the above referenced Lease Schedule(s)
(collectively the "Lease") under the following conditions. All capitalized terms used herein and not defined shall have the meanings assigned
or referred to them in the Lease.


Provided no Event of Default has occurred and is continuing and Lessee is in full compliance with all other terms of the Lease, BAL agrees to
terminate the Lease and transfer all of its right, title and interest in and to the equipment covered under the Lease (the “Equipment”) to Lessee
for the amounts stated below, plus any sales, use, property or excise tax on or measured by such sale, plus any other expenses due or payable
in connection with the transfer (collectively, the “Termination Amount”).

BAL must receive the following in good funds prior to 5:00 p.m. on                         August 13, 2020

                                                              Purchase Price                $                                        98,274.41
                                                              Sales Tax                     $                                         5,896.47
                                                              Property Tax                  $                                              -
                                                              Rent due 3/28/20 - 8/28/20    $                                        11,741.40
                                                              TOTAL                         $                                       115,912.28

                         *** Payoff assumes receipt of the                N/A              rental payment in full ***

Please wire transfer the above amounts as follows.

Bank:                              Bank of America
ABA #:                             0260-0959-3
For the account of:                Banc of America Leasing & Capital, LLC
Account No.:                       12334-01992
Reference:                         : Customer No. 3169100 Schedule No(s). 3
Upon receipt Notify:               Luke Smith

Or remit payment by check to:

Banc of America Leasing & Capital, LLC
P.O. Box 100918
Atlanta, GA 30384-0918
Ref: : Customer No. 3169100 Schedule No(s). 3

Upon our receipt of wire transferred funds or certified check in the aforementioned amount, and provided that you are not then in default of
any of your obligations to BAL, BAL will execute any documentation reasonably required to terminate its right, title and interest in and to the
Equipment.
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BAL's interest in the Equipment will be transferred “AS IS, WHERE IS” without representation or warranty of any kind, express or implied,
and without recourse to BAL except that the Equipment shall be free and clear of all liens created by BAL. All taxes and fees collected by
BAL are estimates; if additional amounts are due, Lessee agrees that it is responsible for and will pay such amounts directly or reimburse
BAL.


Notwithstanding the above, Lessee hereby acknowledges and agrees that any obligations or indemnities of Lessee which by their terms
survive the expiration or termination of the Master Lease or any Lease Schedule thereunder shall continue in full force and effect. Further,
any corporate or personal guaranties which relate to the Lease, as well as any and all other obligations which may be outstanding to BAL or
its affiliates, shall remain in full force and effect with respect to such other obligations, notwithstanding the termination of the Lease. In
addition, if a security interest in the Equipment has been granted to BAL as security for any obligations owing to BAL or its affiliates or
assigns other than the Lease, any such grant of security interest shall remain in full force and effect with respect to such other obligations,
notwithstanding the termination of the Lease.


Lessee, by paying the above stated amounts, agrees to the terms of this letter and to the partial early termination of the Lease, and releases
BAL of any and all of its obligations, if any, under the Lease.


If the Termination Amount is not received by BAL in accordance with the terms of this letter, the Lease shall continue in full force and effect
in accordance with its terms and Lessee shall promptly reimburse BAL for any out of pocket expenses BAL may have incurred in connection
with the partial proposed early termination of the Lease. Nothing contained in this letter shall be deemed a waiver of any rights and remedies
BAL may have under the Lease, other related documents and instruments or applicable law, all of which rights and remedies are expressly
reserved.


If you should have any questions or if we may be of further service, please feel free to contact us at BALCPayoffs@bankofamerica.com.

Very truly yours,

BANC OF AMERICA LEASING & CAPITAL, LLC.
                              By:   Luke Smith
                                    Luke Smith
                                    Operations Consultant
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Customer # AIF # Schedule # Unit #  VIN               Purchase Price Sales Tax Property Tax Rent Due 3/28/20 - 8/28/20 Total
  3169100 133963          3 7819921 2NKHHM6X6HM165278 $    49,276.61 $ 2,956.60 $       -   $                 5,877.54 $ 58,110.75

  3169100 134047          4 7823466 2NKHHM6X7HM165290 $       48,997.81   $ 2,939.87   $   -   $              5,863.86   $ 57,801.54

                                    Total                 $   98,274.41   $ 5,896.47   $   -   $             11,741.40   $ 115,912.28
